 Case 3:18-cv-00545-MHL-RCY Document 2 Filed 09/04/18 Page 1 of 2 PageID# 8




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


SUNDARI K.PRASAD,

       Plaintiff,
V.                                                                   Civil Action No.3:18CV545


HAMPTON ROADS REGIONAL JAIL,et al.,

       Defendants.


                                 MEMORANDUM OPINION


       Plaintiff, a Virginia inmate, has submitted this action and requested leave to proceed in

forma pauperis. The pertinent statute provides:

       In no event shall a prisoner bring a civil action [informa pauperis] if the prisoner
       has, on 3 or more prior occasions, while incarcerated or detained in any facility,
       brought an action or appeal in a court of the United States that was dismissed on
       the grounds that it is frivolous, malicious, or fails to state a claim upon which
       relief may be granted, unless the prisoner is under imminent danger of serious
        physical injury.

28 U.S.C. § 1915(g). Plaintiff has at least three other actions or appeals that have been dismissed

as frivolous or for failure to state a claim. See, e.g., Prasad v. Berger, No. 3:17CV74,2018 WL

2088749, at *6(E.D. Va. May 4, 2018); Prasad v. Judicial Inq. & Review Comm 'n..

No. 3:17CV498,2018 WL 2015809, at *4(E.D. Va. Apr. 30, 2018); Prasad v. Gothic Beauty

Magazine, No. 3:17CV446,2018 WL 1863650, *5(E.D. Va. Apr. 18, 2018); Prasad v. United

States, No. 3:17CV510,2018 WL 1143597, at *4(E.D. Va. Mar. 2, 2018), aff'd'No. 18-6256,

2018 WL 3654852, at *1 (4th Cir. Aug. 1, 2018); Prasad v. Washington Metro Police Dep't,

No. 3:17CV140,2018 WL 1091999, at *4(E.D. Va. Feb. 28, 2018); Prasad v. KarnArtlnc.,

No. 3:17CV62,2017 WL 5012591, at *4(E.D. Va. Nov. 2, 2017), aff'dlU F. App'x 329(4th

Cir. 2018); Prasad v. Delta Sigma Theta Sorority, /wc.. No. 3:16CV897,2017 WL 4399551, at
Case 3:18-cv-00545-MHL-RCY Document 2 Filed 09/04/18 Page 2 of 2 PageID# 9




*5(E.D. Va. Oct. 3, 2017), affdlU F. App'x 336(4th Cir. 2018). Plaintiffs current complaint

does not coherently suggest that she is in imminent danger of serious physical harm.

Accordingly, her request to proceed informa pauperis will be DENIED. The action will be

DISMISSED WITHOUT PREJUDICE.


       Plaintiff remains free to submit a new complaint with the full $400 filing fee. The Court

will process such a complaint as a new civil action.

       An appropriate Order shall accompany this Memorandum Opinion.

       It is so ORDERED.




                                                           M. Hannah
       orn      / on 10                                    United States Di'slrict Judge
Date: SEP "4 2018
Richmond, Virginia
